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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                         :            CRIMINAL ACTION
                                                  :
    v.                                            :            No. 19-636-8
                                                  :
 JAMEL COVINGTON                                  :

                                             ORDER

         AND NOW, this 24th day of September, 2021, upon consideration of Defendant Jamel

Covington’s Motion to Suppress Physical Evidence, the Government’s response in opposition, and

the parties’ presentations at the September 9–10, 2021, hearing on the Motion, it is ORDERED

the Motion (Document 269) is DENIED. A Memorandum setting forth the Court’s findings of fact

and conclusions of law will be issued separately, prior to trial. See Fed. R. Crim. P. 12(d).



                                                      BY THE COURT:


                                                        /s/ Juan R. Sánchez     .
                                                      Juan R. Sánchez, C.J.
